Case 1:21-cr-00048-LY Document 400 Filed 03/02/21 Page 1 of 6

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

<

KARL BECK (1)

CRAIG NEELY (4)
BOBBY HALE (5)
MICHAEL PETERSON (6)
ELIAS LOZA, JR. (7)
REGINALD THOMAS (8)
STEPHANIE SHIRES (9)
||
CLINTON JOHNSON (11)
SHAWN MALMQUIST (12)
AMY ROGERS (13)
=
ANTHONY LONES II (15)
VICTORIA MANNING (16)
=
RICHARD ZAMORA (18)
ADRIANNE SPENCE (19)
|_|
JOSHUA CHERRY (21)
JOSHUA BAILEY (22)
KRISTYN KILLGORE (23)
JAMES ARMOND (24)
LEONARD CANTRELL (25)
a
FOREST ELLINGTON (27)
DAYLIN LOPEZ-IGLESIAS (28)
HALLIE SHAW (29)

RITA ISLAS (31)

   
 
   

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CAUSE NO.

 

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Case 1:21-cr-00048-LY Document 400 Filed 03/02/21 Page 2 of 6

MADISON MITCHELL (32) §
HILDA GUTIERREZ-BENITEZ (33) §

Defendants.
Case 1:21-cr-00048-LY Document 400 Filed 03/02/21 Page 3 of 6

THE GRAND JURY CHARGES:

COUNT ONE
Conspiracy to Possess with Intent to Distribute and Distribution
of a Controlled Substance, Methamphetamine
(Violation of 21 U.S.C. § 846)

La Beginning on or about August I, 2019, and continuing through March 2, 2021, in the

Western District of Texas and elsewhere, KARL BECK, PT
So 2:

NEELY, BOBBY HALE, MICHAEL PETERSON, ELIAS LOZA, JR., REGINALD
THOMAS, STEPHANIE SHIRES, a. CLINTON JOHNSON,
SHAWN MALMQUIST, AMY ROGERS, | | GS. ANTHONY LONES HI,
VICTORIA MANNING, SR, RICHARD ZAMORA, ADRIANNE
SPENCE, Bij a. JOSHUA CHERRY, JOSHUA BAILEY, KRISTYN
KILLGORE, JAMES ARMOND, LEONARD CANTRELL, a.
FORREST ELLINGTON, DAYLIN LOPEZ-IGLESIAS, HALLIE SHAW, 3
EE. RITA ISLAS, MADISON MITCHELL, and HILDA
GUTIERREZ-BENITEZ, defendants, did intentionally and knowingly combine, conspire,
confederate, and agree together and with each other, and with other persons known and unknown
to the Grand Jury, to possess with intent to distribute and distribute methamphetamine, a

Schedule IT controlled substance.

QUANTITY OF METHAMPHETAMINE INVOLVED IN COUNT ONE OF THE
CONSPIRACY

2. With respect to KARL BECK, [iS Si
EY. NS 1c PETERSON,

Indictment — Page 3
Case 1:21-cr-00048-LY Document 400 Filed 03/02/21 Page 4 of 6

ELIAS LOZA, JR., BOBBY HALE, CRAIG NEELY, and REGINALD THOMAS, their
conduct as members of the narcotics conspiracy charged in Count One, which includes the
reasonably foreseeable conduct of other members of the narcotics conspiracy charged in Count
One, involved 500 grams or more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance.
In violation of 21 U.S.C. § 846, the penalty for which is found at 21 U.S.C. §
841(b)(1)(A).
a. With respect to STEPHANIE SHIRES, i, CLINTON
JOHNSON, SHAWN MALMQUIST, AMY ROGERS, Sy EF. ANTHONY
LONES II, VICTORIA MANNING, SR. RICHARD ZAMORA,
ADRIANNE SPENCE, Sy GR. JOSHUA CHERRY, JOSHUA BAILEY,
KRISTYN KILLGORE, JAMES ARMOND, LEONARD CANTRELL, SR
a. FORREST ELLINGTON, DAYLIN LOPEZ-IGLESIAS, HALLIE SHAW,
es GS «811 A ISLAS, MADISON MITCHELL, and HILDA
GUTIERREZ-BENITEZ, their conduct as members of the narcotics conspiracy charged in
Count One, which includes the reasonably foreseeable conduct of other members of the narcotics
conspiracy charged in Count One, involved 50 grams or more of a mixture and substance
containing a detectable amount of methamphetamine, a Schedule I] controlled substance.
In violation of 21 U.S.C. § 846, the penalty for which is found at 21 U.S.C. §
841(b)(1)(B).
COUNT TWO
Money Laundering
(Violation of 18 U.S.C. § 1956)

4, Beginning on or about August 1, 2019, and continuing through March 2, 2021, in the

Western District of Texas and elsewhere, KARL BECK, SF ee:

Indictment - Page 4
Case 1:21-cr-00048-LY Document 400 Filed 03/02/21 Page 5 of 6

SS SS «2241
NEELY, BOBBY HALE, Sy GS. RICHARD ZAMORA,

MADISON MITCHELL, and RITA ISLAS, defendants, and others known and unknown to
the Grand Jury, did unlawfully, knowingly and intentionally combine, conspire, confederate and
agree together, and with others known and unknown to the Grand Jury, to commit certain
offenses under 18 U.S.C. §1956, as follows:

a) to conduct and attempt to conduct financial transactions affecting interstate and
foreign commerce that involved property which was the proceeds of specified unlawful activity,
to wit, unlawful possession with intent to distribute a controlled substance, methampethamine,
with the intent to promote the carrying on of said specified unlawful activity in violation of 18
U.S.C. § 1956(a)(1)(A)G); and

b) to conduct and attempt to conduct financial transactions affecting interstate and
foreign commerce that involved property which was the proceeds of specified unlawful activity,
to wit, unlawful possession with intent to distribute a controlled substance, methampethamine,
with the intent to conceal or disguise the nature, the location, the source, the ownership, or the
control of the proceeds of said specified unlawful activity in violation of 18 U.S.C. §
1956(a)(1)(B)i).

In violation of 18 U.S.C. § 1956(h), the penalty for which is found at 18 U.S.C. §

1956(a)(1).

Indictment — Page 5
Case 1:21-cr-00048-LY Document 400 Filed 03/02/21 Page 6 of 6

ASHLEY C. HOFF
UNJFED STATES ATTORNEY

 

 

Assistant United States Attorney

Indictment — Page 6

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